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                          .IN THE SUPERIOR COURT OF LONG COUNTY

                                      STATE OF GEORGIA



             STATE OF GEORGIA,              *
                                            *   CASE NO.: ·2012-R- 61
                  vs .                      *
                                            *
             MICHAEL ABRAHAM BURNETT ,
                       Defendant.
                                            *
                                            *
                                            *     (C(Q)rY
                         Heard before the Hon . Robe r t L. Rus s ell ,

                            Judge , At lantic J u d i cial Ci rcuit,

                            in Long County , Lu dowic i , Georg i a ,

                             on the 27th day of August , 2012 .

                                 * * * * * * * * * * * * * *
                                  TRANSCRIPT OF PROCEEDINGS

                                          GUILTY PLEA

                                 * * * * * * * * * * * * * *




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             APPEARANCES:

                   FOR THE STATE:          TOM DURDEN, ESQ.
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                                           MS. ISABEL PAULEY
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                          THE COURT:      This is the matter of The State of

         2         Georgia versus Michael Abraham Burnett.          This is Case

         3         No.:   2012-R-61    in the Superior Court of Long County.

         4         I'm Robert L.       Russell   the   presiding Superior Court

         5         Judge in this matter.         Mr. Burnett is present here in

         6         the courtroom with his attorney, Ms. Mullis.           We have

         7         Tom    Durden,   the       the   District   Attorney   for    the

         8         Atlantic Judicial Circuit and Isabel Pauley, Assistant

         9         District Attorney for the Atlantic Judicial Circuit

        10         present.    Now, Mr. Durden, what are we doing today?

        11                MR. DURDEN:      Your Honor, we're prepared to enter

        12         a plea on the indictment that Your Honor just sounded,

        13         a guilty plea to-- and I - - Ms. Pauley will outline

        14                THE COURT:      All right.   Ms. Pauley, --

        15                MR. DURDEN:        and this is -- this is pursuant to

        16         plea negotiations.

        17                THE COURT:      Ms. Pauley-- Ms. Pauley, you tell me

        18         what's going on.

        19                MS. PAULEY:      Yes, sir.   Your Honor, we do have a

        20         negotiated guilty plea for approval by the Court.            Your

        21         Honor has a copy.         I will hand you now the original

        22         that has been signed by counsel and by the defendant,

        23        'Mr. Burnett.       Your Honor, we are prepared at this time

        24         to also tender to the Court a nol pros.          As the Court

        25         may be aware,       this case was re-indicted and is now


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         1         before the Court on 2012-R-61.             The re-indictment --

         2               THE COURT:       Yeah.    So I'll change-- if I said

         3         I did say 61 I believe when I called the case.

         4               MS. PAULEY:       Yes,    sir.     The original indictment

         5         was 2012-R-0044.       The case was re-indicted earlier this

         6         month to include,        in addition to the murder counts,

         7         some gang counts.        So we would, at this time, tender a

         8         nol pros on the first indictment and we are proceeding

         9         on the second indictment.

        10               THE COURT:       That's fine.       I'll sign it right now

        11         and give     it      file      it with the Clerk of Superior

        12         Court, Frank Middleton.

        13               MS.    PAULEY:        Your       Honor,   as   part   of    the

        14         negotiations the defendant is charged in Counts One and

        15         Two with malice murder, two counts for the two victims

        16         in   this   case,   Michael Rork and Tiffany York.               He's

        17         charged in Counts Three and Four with felony murder and

        18         Counts Five and Six with the violation of The Street

        19         Gang Terrorism and        Prevention Act;        Count Seven and

        20         Eight, possession of a firearm during the commission of

        21         a felony; Counts Nine and Ten, violation of The Street

        22         Gang Terrorism and Prevention Act and Counts Eleven and

        23         Twelve are aggravated assaults,             one per victim.        As

        24         part of the negotiations, Your Honor, we are tendering

        25         at this time a nol pros as to the felony murder counts,


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                   .Three and Four and the two aggravated assault counts,

         2         Eleven and Twelve.          The defendant would plead guilty to

         3         the remaining counts.           As Your Honor can see, Counts

         4         One     and   Two,   malice    murder,    as   part    of   the   plea

         5         negotiations         would      be      reduced       to    voluntary

         6         manslaughter.         I   would tender the nol pros at this

         7         time, Your Honor, to the counts we negotiated.

         8                 THE COURT:        I'll sign them right now.

         9                 MS. PAULEY:       Your Honor, at this time-- again the

        10         defendant would be pleading guilty to Counts One and

        11         Two,    reduced charges of voluntary manslaughter.                  He

        12         .would plead guilty to all remaining counts as indicted

        13         in the indictment returned by the Grand Jury here in

        14         Long County on August 1 0,             2012.      Your Honor,     in a

        15         moment I will recite a factual basis to support the

        16         plea.     This of course is our office,               the attorney's

        17         summary and it is a condensed summary.                This case file

        18         is voluminous.        This is not exhaustive of the facts or

        19         the evidence that the State has against this defendant

        20         or the other defendants.             It simply is a summary to be

        21         utilized for the Court for an acceptance of the plea

        22         today.

        23                 MR.   DURDEN:      And if I     may,   Your Honor,    not to

        24         preempt the work that we've done on this case, but the

        25         --or the statement that Ms. Pauley is making, we have


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                   been    in    constant     communication       with   the   federal

         2          authorities and with their investigation and this is,

         3          as   Ms.    Pauley   said,   a    condensed    summary,    not   to

         4          including [sic] everything else that may come out of

         5         this whole investigation.

         6                THE COURT:     Very well.

         7                MS. PAULEY:     Sir, on the morning of December 6th,

         8         2011 teenage sweethearts Michael Rork and Tiffany York

         9         were found shot in the head off Morgan Lake Road in

        10         Long County, Georgia.          A walkie talkie is located at

        11         victim Michael Rork's hand.          His body is found outside

        12         and next to his vehicle.          Victim Tiffany York's body is

        13         found inside the car.         Evidence at autopsy reveals the

        14         victim -- victims both were murdered by 410 shotgun

        15         rounds.      Further investigation by the Georgia Bureau of

        16         Investigations, which here on after I will refer to as

        17         the GBI, determines the murder weapon as a Taurus Judge

        18        ·Pistol,      which fires either 45 caliber rounds or 410

        19         shotgun shells.          Investigators further        learn victim

        20         Michael Rork had, only days before his murder, been--

        21         been discharged from the Army.           He had been stationed

        22         at nearby Fort Stewart and planned to return to his

        23         home state of Washington.          Victim Tiffany York was his

        24         17 year old girlfriend of only a few months.                She was

        25         a high school student and Michael Rork was her first


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                   love.         She had plans         to move back to her home of

         2         California.                The    GBI,      through         its     exhaustive

         3         investigation, now knew who had been murdered execution

         4         style.     The agency knew where the murders happened and

         5         how they were carried out.                 The GBI had to next answer

         6         the questions of who committed these heinous murders

         7         and •1hy.           Evidence gathered by             the    GBI,     local    law

         8         enforcement, The US Army Criminal Investigators and the

         9         Federal Agencies of the FBI and ATF provide answer to

        10         these questions.            The answers to these questions of who

        11         and     why     center       around        one     man,     Isaac     Aguigui.

        12         .Defendant         Isaac    Aguigui        is     active     duty     Army    and

        13         assigned to the same unit as Victim Rork.                            Defendant

        14         Aguigui formed and organized an anarchist group and

        15         militia.        All members of the group were active duty

        16         military       or    former      military.          The    total     number of

        17         members remains unknown.                   Defendant Aguigui actively

        18         recruited new members               at Fort Stewart and                targeted

        19         soldiers who were in trouble or disillusioned.                                 He

        20         utilized       a     gaming      magazine        article      featuring       the

        21         release of a video game, Rainbow VI True Patriots, to

        22         gauge the soldier's reactions.                      The game features a

        23        .domestic        terrorist        organization             comprised     of    US

        24         Soldiers who attack our own government, contending the

        25         attacks       are     necessary       to        return     this     country    to


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         1         greatness.           Hence,    the     soldiers      were     the     "True

         2         Patriots."       Aguigui called this process the Awakening

         3         and     if   those     approached       were     sympathetic         or   in

         4         agreement with the concept they would be brought into

         5         the folds of the organization.               The closest members of

         6         the organization were referred to as The Family and

         7         included      this     defendant       and     the   other     remaining

         8         defendants, Christopher and Heather Sammon and Anthony

         9         Pedin.       All these males, Your Honor,             are active duty

        10         Army.    Heather Sammon had been recently discharged from

        11         the Army.      The militia or Auguigui's army had a name,

        12         the    acronym FEAR.          The    name    had a    literal       meaning

        13         because it was what they instilled in their enemies.

        14         Additionally it's letters stood for Forever Enduring,

        15         Always Ready.        Having been trained by the military they

        16         planned on utilizing their skills and training to now

        17         attack it at all costs.             Your Honor, the expressed goal

        18        . of FEAR, this militia/anarchist group, was to overthrow

        19         the United States Government and execute the president

        20         of the United States.          The group knew these objectives

        21         would not be achieved overnight so they set their sight

        22         -- sights on other acts of domestic terrorism in the

        23         interim.      According to this defendant, Michael Burnett,

        24         the Defendant Aguigui committed [sic] -- communicated

        25         with     other       militia        movements        and     like-minded


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                   .organizations in several other states.                     FEAR structured

         2          their organization, plotted attacks and acquired the

         3         means     to carry out          the attacks.             Acts of domestic

         4          terror included forcibly taking over the ammo control

         5         point     at    Fort     Stewart       to    take     the    post;   bombing

         6         vehicles of local              and state          judicial and political

         7          figureheads and federal representatives to include the

         8          local department of homeland security.                       Members also

         9         plotted        to    bomb   the    fountain         in   Forsyth     Park      in

        10         Savannah.           Upon getting out of the Army all planned to

        11         move     to    Washington         state     and     live    together     on     a

        12         .compound.          A security company would serve as a facade

        13          for   the     true    nature     of    their organization           and      its

        14         criminal activities.              Elaborate and further terrorist

        15         attacks and planning stages included bombing a dam in

        16         Washington State to kill civilians and destabilize the

        17         state's economy;            alternatively the group schemed to

        18         poison the apple crop with the same terrorist goal of

        19         chaos,       death and      financial        collapse       for   the state.

        20         Your Honor,          this domestic terrorism organization did

        21         not simply plan and talk prior to these murders that

        22         occurred here in Long County.                     The group in fact took

        23        .action.             Evidence    shows       the    group     possessed      the

        24         knowledge, means and motive to carry out their plans.

        25         The group committed local drug and theft crimes by its


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         1          members lower in the hierarchy than this defendant and

         2          these criminal activities initially funded the group.

         3          Then in July of 2011, approximately and less than four

         4          months    prior   to   the    murders     here,    defendant        Isaac

         5          Aguigui's pregnant wife who was also in the Army and

         6          stationed at Fort Stewart died under highly suspicious

         7          circumstances while alone with him on post.                        At her

         8          death he acquired a-half-a-million-dollars, $500,000 --

         9          $500,000 in benefits and insurance proceeds.                    Shortly

        10          there    after Defendant Aguigui           returned        to his    home

        11          state of Washington for bereavement leave and purchased

        12          --excuse me-- approximately $32,000 worth of military

        13          grade      assault     rifles       and    other       weaponry       and

        14          accessories.      He subsequently purchased approximately

        15          another $28,000 of weaponry of the same nature by phone

        16          up to and through the end of November, 2011, just days

        17          before these murders.             His actions there caught the

        18          attention of a joint terrorism task force.                     Upon his

        19          return to his duty post in Georgia he alerted the other

        20          FEAR    members   to   the    federal     government's       response.

        21          Defendant     Aguigui,       as    the    leader      of   FEAR,     then

        22          structured a firearms (Indicating) purchasing network

        23          in violation of Federal Law to effectuate the extensive

        24          firearms     stockpiling      needed      for   his    group    without

        25          drawing further attention from the federal government.


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                    ·The defendant now before the Court, Your Honor, along

         2          with    defendants      Christopher         and    Heather     Sammon      all

         3          purchased firearms in Hinesville, Georgia in violation

         4          of   Federal     Law    for   the    FEAR gang       or organization.

         5          These firearm and explosive purchases occur between

         6          early October,         2011 and up to and including the very

         7          day before the murders in question.                  Defendant Aguigui

         8          gave the other FEAR members his credit and debit cards

         9          to illegally purchase these items.                   Defendant Aguigui

        10          had FEAR's symbol engraved on a number of the weapons.

        11          This symbol is the Greek letters of alpha and omega in

        12          an   overlapping       fashion.        It    resembles        the    anarchy

        13          symbol and it's meaning was elaborate and known to its

        14          members.        Under the symbol, Your Honor, and as it can

        15          be seen on an assault rifle -- a military grade assault

        16          rifle seized from one of the defendant's residence are

        17          the numbers 666 and PLT.            Six-six-six is considered the

        18          elite    platoon within FEAR or              the militia's           special

        19          forces     unit.       Symbolically,         666    is   evil        and   the

        20          antichrist and Aguigui chose it for this symbolism.

        21          This same symbol for FEAR is tattooed on a number of

        22          members, including, Your Honor, this defendant and some

        23         ·others     to    demonstrate        their   loyalty      to    the    cause.

        24          Among the approximate $27,000 spent on the arsenal here

        25          in   Hinesville,       Georgia      and     thousands     of    rounds      of


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         1          ammunition is the murder weapon utilized in this case,

         2          a    Taurus    Judge    Handgun.        This   defendant,          Michael

         3          Burnett purchased the murder weapon on November 25,

         4          2011,    just days before the murder --murders.                         Your

         5          Honor,    the group has also assembled and manufactured

         6          destructive devices and purchased ·components for other

         7          bombs which were seized from the defendant's homes and

         8          a   storage unit.          Your Honor,     now that         the GBI         had

         9          reached a determination as to who had shot and killed

        10          Michael Rork and Tiffany York they learned why and how

        11          the murders were carried out.              Defendant Aguigui had

        12          befriended Rork.        Michael Rork, associated with him and

        13          was trusted with Aguigui's credit cards for purchases

        14          for the group.         Aguigui came to believe that Rork had

        15          used     FEAR's    funds   for   personal      uses_        The    closest

        16          members of the militia, The Family,               became concerned

        17          and fearful-- fearful that with Rork's discharge from

        18          the Army and leaving in advance of the others that he

        19         may      disclose     the   organization's              organization's

        20          terrorist activities.            The group determined Rork had

        21          betrayed      them   and   posed    a   serious   threat          to   their

        22          plans.        Consequent           consequently        he    had       to    be

        23         murdered.          Likewise,   his girlfriend posed a risk of

        24         disclosure so she had to be killed too to preserve

        25          their activities.          The victims went to visit Michael


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                   'Rork' s     father       in    Florida        upon    exiting    the    Army   on

         2          Friday, December 2nd.                 The couple returned to Georgia

         3          on    Monday,       December         5th,      the    very    day     they   were

         4          murdered.         The victim, Michael Rork communicated with

         5          the   defendants          during        the    day.      Your       Honor,   that

         6          evening      the       evidence       would     show     Defendant       Aguigui

         7          decided they needed to kill them now and he determined

         8          there      was    urgency       to    the      matter.        The    defendants

         9          assembled         at    Defendant        Christopher                Defendant's

        10          Christopher and               Heather    Sammon's        residence      on   Fort

        11          Stewart.         They told Michael Rork they were simply going

        12         ·night shooting as a ploy to lure him out to an isolated

        13          area of woods here in Long County.                           Your Honor,     this

        14          defendant and the other three male defendants all rode

        15          out   to    the woods          here     in Long        County   in     Defendant

        16          Aguigui' s       vehicle.         The    two victims          rode     in victim

        17          Michael Rork's car.              They communicated with each other

        18          by way of walkie talkie.                 Upon arriving at the location

        19          all four men exited the car.                         Defendants Christopher

        20          Sammon and Anthony Pedin each shot one of the victims

        21          in the head.           Defendant Aguigui directed, participated

        22          and enjoyed his role as the leader and the murders

        23         ·themselves.            Your Honor, he is a self proclaimed cold-

        24          blooded murderer before these murders occurred and has

        25          said of himself prior to the murders in question, "That


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         1          he is" "the nicest cold-blooded murderer you will ever
                            11
         2          meet.

         3                  MR. DURDEN:             And that was from the CID.

         4                  MS.    PAULEY:           Yes,    sir.        That's actually on an

         5          audio        recorded       device       that    the       State    has    in    its

         6         .evidence.          The State has obtained, Your Honor, physical

         7          evidence to corroborate Defendant Aguigui' s vehicle was

         8          utilized to kill the victims and that the defendants in

         9          question rode in that vehicle and that• s based upon

        10          biological evidence found within that car.                            Your Honor,

        11          this defendant exited with the other defendants but did

        12          not actively participate in the murders.                              He did not

        13          shoot either victim, nor did he direct the others to do

        14          so.     This defendant,               Your Honor,      the evidence shows,

        15          actually began walk -- to walk back to the car after

        16          victi~       York was murdered and as they prepared to -- to

        17         .murder Michael Rork.                  Your Honor, this defendant is the

        18          least        legally       and    morally       culpable       defendant        with

        19          regard        to     the    murders.            Of     the     four     defendant

        20          participants present at the murders some have given

        21          confessions or made admissions, but not all of them, to

        22          include        one     of       the     shooters.            This     defendant's

        23          testimony of what transpired at the crime scene itself

        24          and     in    route        to    the    murders       is     critical      to    the

        25          prosecution of the other defendants.                            The State has


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         1          reviewed the plea offer before the Court with both

         2          victim's families at length and the State's reasons for

         3          the recommendation to this Court and its terms.                           Your

         4          Honor, the families are in agreement with the State's

         5          offer and      support        this outcome         in   full    as   to   this

         6          defendant alone.             Likewise,       the GBI as the lead law

         7          enforcement agency in this case supports the plea.

         8                MR.     DURDEN:         Your   Honor,        what Ms.     Pauley     has

         9          recited for the Court was a stipulated and agreed to

        10          set of facts for the Court but I did want the Court to

        11          also notice that the families are -- or representatives

        12          of the victim's are in court and they are in agreement

        13          if

        14                THE COURT:         Very well.

        15                MR. DURDEN:               if the Court has any questions.

        16                THE COURT:         All right.          Ms.

        17                MS. PAULEY:        Your Honor, do you want me to review

        18          the   terms     now     or     should    I    wait      until   after     your

        19          questioning?

        20                THE COURT:         No.     Let's wait on the terms.

        21                MR. DURDEN:            I would wait on it.

        22                MS. PAULEY:            Yes, sir.

        23                THE COURT:        Let's-- Ms. Mullis, have your client

        24          and yourself stand at the podium please.

        25                MS. MULLIS:            Yes, Your Honor.


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             1                   THE COURT:      Now ask Ms. Mullis if she agrees with

             2          the stipulation.

             3                   MS. PAULEY:     Ms. Mullis, would you agree that that

             4          is   a    factual   --    that    there   is   a   factual   basis   to

             5          support the pleas -- pleas that your client is going to

             6          enter, minus any defenses your client might have had

             7          had the case gone to trial?

             8                   MS. MULLIS:      Yes, Your Honor.         We so stipulate.

             9                   THE COURT:      Yeah.    Yes, Mr. Durden?

         10                      MR. DURDEN:      And also, Tracy -- Ms. Mullis, your

         11             in agreement with what Ms. Pauley has said, that is a

         12             factual -- an accurate factual foundation

         13                      MS. MULLIS:      That is correct.

         14                      MR. DURDEN:      -- for the plea?

         15                      MS. MULLIS:      That is correct.

         16                      MR. DURDEN:      Okay.       All right.     Okay.

         17                      THE COURT:      All right.    Mr. Burnett, best you can,

         18             raise your right hand and be sworn in by the Clerk of

         19             Superior Court.

         20                      MR. BURNETT:       (Complies)

         21                      CLERK:   Do you swear or affirm your answers to the

         22             Judge's questions will be the truth,                 the whole truth

         23             and nothing but the truth so help you God?

         24                      MR. BURNETT:      Yes.

         25                      THE COURT:      All right.       Now, Mr. Burnett, what's


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             1          going on right now is -- is y'all have told me --Ms.

             2          Pauley has       set out a        factual    basis   for   the crimes

             3          you're charged with.              Your attorney has agreed with

             4          that and you have too and now I'm-- my job is to make

             5          sure     that     you    are     knowingly,      intelligently     and

             6          voluntarily pleading guilty and that you understand

             7          what's going on and what rights you're giving up.                  The

             8          reason -- the way I handle this is ask you a series of

             9          questions.       Do you understand?

         10                     MR. BURNETT:      Yes.

         11                     THE COURT:       Okay.     Now speak up loud enough so

         12             everybody can hear you and that the court reporter over

         13             here can take all of this down.                  Tell me your full

         14             name.

         15                     MR. BURNETT:      Michael Abraham Burnett.

         16                     THE COURT:      How old are you?

         17                     MR. BURNETT:      Twenty-six.

         18                     THE COURT:      Can you understand my statements and

         19             questions?

         20                     MR. BURNETT:       Yes.

         21                     THE COURT:      Are you suffering from any physical or

         22             mental problems?

         23                     MR. BURNETT:       No.

         24                     THE   COURT:       Are     you   under   the   influence    of

         25             anything        like    crack     cocaine;    cocaine;     marijuana;


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             1          alcohol;      narcotics;         prescription          drugs;     or    any

             2          substance?

             3                  MR. BURNETT:      No.

             4                  THE   COURT:       So    you're       thinking     clearly      and

             5          rationally this morning?

             6                  MR. BURNETT:      Yes, sir.

             7                  THE COURT:      Can you communicate effectively with

             8          your attorney, Ms. Mullis?

             9                  MR. BURNETT:      Yes, sir.

         10                     THE   COURT:      Can    you     make    important      decisions

         11             involving your life?

         12                     MR. BURNETT:      Yes.

         13                     THE COURT:      Is anybody forcing you to do this?

         14                     MR. BURNETT:      No.

         15                     THE COURT:       Is anybody promising you anything,

         16             other than these negotiations, to get you to do this?

         17                     MR. BURNETT:      No.

         18                     THE COURT:       Okay.     Let's discuss this a little

         19             bit, Mr. Burnett, so you know what the situation is as

         20             far as what you're dealing with.                   On the indictment

         21              2012-R-61 they-- there are twelve counts.                  Now, Counts

         22             One and Two is malice murder.                 Both of those carries a

         23             life penalty in the penitentiary.                      Counts Three and

         24             Four,    felony    murder,       carry    a     life    penalty    in   the

         25             penitentiary.          Counts Five and Six are violation of


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                        Street Gang Terrorism Prevention Act and Five and Six,

             2          the range of punishment on that I believe is one -- one

             3          to 15 years, Ms. Pauley?

             4                MS. PAULEY:       Five.

             5                THE COURT:    Five to 15 years --

             6                MS. PAULEY:       Yes, sir.

             7                THE COURT:    -- each.        Then Count Seven and Eight

             8          is possession of a firearm during the commission of a

         9              felony.   That's up to five years consecutive on both of

        10              those to any other -- any other sentence.              Count Nine

        11              is   violation     of    The    Street     Gang    Terrorism   and

        12              Prevention Act.         The range of punishment on that is

        13              .five to 15.   Count Ten is violation of The Street Gang

        14              Terrorism and Prevention Act.            That's five to 15.    And

        15              Count Eleven is aggravated assault.               It's one to 20.

        16              And Count Twelve,        aggravated assault,       is one to 20.

        17              Now the way I have it figured up is that either the

        18              malice murder or the felony murder would merge with

        19              each other so you're looking at two life sentences in

        20              jail, plus 120 years if all of these matters went to a

        21              jury trial.    Now under the terms of the negotiated plea

        22              there are a number of matters that would be dismissed

        23              or nol prossed.         Counts Three and Four,         the malice

        24              [sic] -- the felony murders would be nol prossed.              The

        25              -- Counts Eleven and Twelve, aggravated assaults would


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             1          be nol prossed or dismissed but the other penalties

             2          remain the same and that's -- that's what is on the

             3          table for you to make a decision on this morning as to

             4          whether    you want      to    plead guilty or not guilty                   to

             5          Counts One; Two; Five; Six; Seven; Eight; Nine and Ten.

             6          What do you want to do, Mr. Burnett?

             7                  MR. BURNETT:     Plead guilty.

             8                  THE COURT:     When you plead guilty you give up some

             9          rights you have and I want to go over some of these

         10             rights to make sure you understand them.                        One of the

         11             rights    you   give    up    is   the   right     to    a     jury    trial;

         12             understand?

         13                     MR. BURNETT:     Yes, sir.

         14                     THE COURT:     Another right you give up is the right

         15             to have an attorney represent you and if you can't

         16             afford an attorney one will be appointed for you at no

         17             cost.     Do you understand?

         18                     MR. BURNETT:     Yes.

        19                      THE COURT:     Another right you give up is the right

         20             for you and your attorney to always be in the courtroom

         21             when there's anything going on involving your case and

         22             you would be allowed to confront and cross-examine the

        23              State's     witnesses         called     against        you.          Do   you

         24             understand?

         25                     MR. BURNETT:     Yes.



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                              THE COURT:       You're giving up the right to remain

             2          silent and what that means is you don't have to testify

             3          at a trial.     The State can't call you as a witness.

             4          It's your decision to testify or not.          You are presumed

             5          innocent.     You have no burden of proof.         The State is

             6          the one with the burden of proof and this burden of

             7          proof is beyond a reasonable doubt and you're giving up

         8              these rights.        Do you understand?

         9                    MR. BURNETT:       Yes.

        10                    THE COURT:       You're also giving up the right to

        11              subpoena witnesses to come to court to testify for you;

        12              understand?

        13                    MR. BURNETT:       Yes.

        14                    THE COURT:      Now have you had enough time to talk

        15              to Ms. Mullis and think about all of this today?

        16                    MR. BURNETT:       Yes.

        17                    THE COURT:      Okay.     Have you got any questions for

        18              Ms. Mullis or myself about your rights or what is going

        19              on here?

        20                    MR. BURNETT:       No.

        21                    THE   COURT:      Are     you   satisfied with   the   legal

        22              representation that you have received from Ms. Mullis?

        23                    MR. BURNETT:      Yes.

        24                    THE COURT:      Now, Ms. [sic] --now, Mr. Burnett, I

        25              want you to tell me what was going on about all of this


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             1          to -- for me to establish that -- that there is a fact

             2          pattern here.       Tell me how you first got involved with

         3              this organization.

             4                MR. BURNETT:        I had recently been divorced and had

         5              custody of my son.            I needed a baby sitter and Heather

         6              Sammon, I knew her husband from work.                    She offered to

         7              baby sit my son.      She started watching my son.                 I spent

         8              more time over there.             I've -- I've known both Chris

         9              and   Isaac   for    an       extended    period    of    time.        They

        10              introduced me to -- it started out as just going out

        11              and shooting guns,        just guy stuff and then introduced

        12              me to the -- the manuscript is what he called it, the

        13              book about true patriots.                I believed in some of the

        14              stuff;   didn't     believe       in     other    things.         It    just

        15              progressed from there to going out buying more guns.

        16              They talked of doing radical things, things that -- a

        17              lot of things that I didn't agree upon like hurting

        18              innocent people.          I    didn't agree with that.                 Other

        19              things I did agree upon, I did -- I did think that the

        20              government needed a change and I thought we were the

        21              people to be able to change it.                  I don't know how it

        22              got to the point where two people got murdered.

        23                    THE COURT:      Say that again.

        24                    MR. BURNETT:        I don't know how it got to the point

        25              where two people got murdered.


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                              THE COURT:    Did you-- did you discuss murder with

             2           these -- the people you were in this group with?

             3                MR. BURNETT:     I tried to -- I tried to take them

             4           away from that on two separate occasions.

             5                THE COURT:     Yeah.    Tell me what was -- tell me

             6           about how the words FEAR and how that gang or group

             7           came-- came to be and how you were involved with that.

             8                MR. BURNETT:     Isaac came up with the acronym for

             9          FEAR and my initial involvement was pretty slim and

         10              then progressively got more and more to --

         11                   THE COURT:     What -- what were the goals of the

         12             FEAR group?

         13                   MR. BURNETT:     To give the government back to the

         14              people.

         15                   THE COURT:      So you're -- you're      talking about

         16              revolution?

         17                   MR. BURNETT:     Yes, patriotism.

         18                   THE COURT:     I understand.    Now so you had -- you

         19             had automatic rifle-- y'all had automatic weapons in

         20              your possession?

         21                   MR. BURNETT:     No, semi-automatic rifles.

         22                   THE COURT:    Semi-automatic; all right.      So how did

         23              it finally come down to -- to murder?          Tell me what

         24             happened.

         25                   MR. BURNETT:     The night of the murder I went home


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                        around 6:00 from picking my son up from the Sammon's

             2          residence.       Stayed at home until 9:06.        I got a phone

             3          call from Pedin telling me to come over to their house.

             4          So I had to wake my son up; took him over there.                 The

             5          decision had already been made to murder those two.

             6                  THE COURT:       How -- who had made this decision?

             7                  MR. BURNETT:       Pedin, Isaac and Chris.

             8                  THE COURT:       Okay.   And why did y'all make the

             9          decision to      --

         10                     MR. BURNETT:       I didn't make any decisions, sir.

         11                     THE COURT:       Okay.   Why was the decision made to

         12             murder these people?

         13                     MR. BURNETT:       A loose end is one way that Isaac

         14             put it.       Michael was witness to another murder previous

         15             to this murder.

         16                     THE COURT:       Michael -- you mean --

         17                     MR. BURNETT:       Michael -- Mr. Rork.

         18                     THE COURT:        -- Michael Rork was      a   witness    to

         19             another murder that this group had done?

         20                     MR. BURNETT:       That Isaac had done.

         21                     THE COURT:       Yeah.   And what   --   what murder was

         22             that?

         23                     MR.   BURNETT:     I don't have full stipulation to

         24             that.     I don't exactly what happened.

         25                     THE COURT:       It was here in Georgia?


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         1                    MR. BURNETT:        Yeah.

             2                THE COURT:        Yeah.     All right;   So how did it end

         3              up that you were in the car that took -- took the

             4          parties out to where the shooting was going to occur?

         5                    MR. BURNETT:        I tried to talk them out of it at

             6          first.      At first I went to Heather because Isaac· seemed

             7          to listen to Heather a lot.             I went to her first and

         8              pretty much pleaded with her not to do this and she

         9              said the decision has already been made.              I went to

        10              Chris and did the same thing.            Once again, I was kind

        11              of just shooed off.

        12                    THE COURT:        Where -- where were Rork -- Michael

        13              Rork and Tiffany York?            I mean, were they tied up?

        14                    MR.    BURNETT:      They hadn't come -- they hadn' t

        15              showed up at the house yet.

        16                    THE COURT:     They were what?

        17                    MR. BURNETT:        They weren't there yet.

        18                    THE COURT:     Okay.      They had-- they were living as

        19              a couple in a house?

        20                    MR. BURNETT:        I -- I don't know.

        21                    THE COURT:     Well did you         well did you go in the

        22              car to pick them up?

        23                    MR. BURNETT:        No.

        24                    THE COURT:        Who -- who did that?

        25                    MR. BURNETT:        They -- I think they showed up on


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                        their own in a car.

             2                 THE COURT:     They showed up over at whose house?

         3                     MR. BURNETT:     At Heather and Chris' house.

         4                     THE COURT:      Okay.   And what happened when they

         5              showed up there?

         6                     MR. BURNETT:     I was outside for most of it but I

         7              guess they talked about going night shooting and

         8              then

         9                     THE COURT:     I mean, were they tied up?

        10                     MR. BURNETT:     No.

        11                     THE COURT:      Okay.   They were   just voluntarily

        12              going along?

        13                     MR. BURNETT:     Yes, sir.

        14                     THE COURT:     And -- and you did too or did somebody

        15              order you to come along?

        16                     MR. BURNETT:     Isaac ordered me to come along and

        17              then he threatened to kill my son.         I have a two year

        18              old son and --

        19                     THE COURT:     What, he threatened right then if you

        20              didn't come along?

        21                     MR. BURNETT:    Yeah.   He threatened Pedin's son too

        22              from what Pedin has told me and --

        23                     THE COURT:     Yeah.

        24                     MR. BURNETT:     Pedin has a young child as well and

        25              then


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             1                  THE    COURT:      So          so   this   is          y' all   live

             2          somewhere in the city of -- this was -- this -- where

             3          everybody was was somewhere in the city of Hinesville?

             4                  MR. BURNETT:       On post.

             5                  THE COURT:      On post?

             6                  MR. BURNETT:       Yes, sir.

             7                  THE COURT:        Okay.       And so you left Fort Stewart

             8          and           and drove    to Hinesville and            then    into Long

             9          County?

         10                     MR. BURNETT:       Yes, sir.

         11                     THE COURT:        Okay.       And where did you go in Long

         12             County?

         13                     MR. BURNETT:       I don't really know Long County very

         14             well.     They just picked a place that was kind of off

         15              the side of the road.            I    guess Michael Rork, he knew

         16              that area a little bit and he actually drove to the

         17             destination.

         18                     THE COURT:      Michael Rork was actually driving --

         19             how many cars were there, one or two?

         20                     MR. BURNETT:       Two.

         21                     THE COURT:      And Michael Rork was driving one car?

         22                     MR. BURNETT:       Yes, sir.

         23                     THE COURT:      And -- and Ms. Tiffany York was also

         24             ·in that car?

         25                     MR. BURNETT:       Yes, sir.


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         1                  THE COURT:       Who else was in that car?

         2                  MR. BURNETT:       No one else.

         3                  THE COURT:       Yeah.    So and then who-- and y'all

         4          followed them?

         5                  MR. BURNETT:       Yes, sir.

         6                  THE COURT:       And who was in that car?

         7                  MR. BURNETT:      Pedin was driving.      I was sitting in

         8          the passenger seat and then Chris and Isaac were in the

         9          back seat.

        10                  THE COURT:     Okay.     Tell me what happened when Mr.

        11          Rork stopped the car.

        12                  MR. BURNETT:       The car stopped and both Pedin and

        13          Chris Sammon went up to both sides of the car and Mr.

        14          Rork was starting to get out and Pedin shot her and

        15          then

        16                  THE COURT:       I mean, did -- did Ms. York and Mr.

        17          Rork have guns in their hands?

        18                  MR. BURNETT:       I don't know.

        19                  THE COURT:     Where --you just sat in the passenger

        20          side?

        21                  MR.   BURNETT:     I   got out.    I   got out and walked

        22          around to the        front of the -- of the         jeep and then

        23          after Ms. York got shot, that's when I started

        24                  THE COURT:       Now who shot Ms. York?

        25                  MR. BURNETT:       Mr. Pedin.


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                                THE COURT:     And did you see that?

             2                  MR. BURNETT:     Yes.

             3                  THE COURT:     And -- and then what happened?

             4                  MR. BURNETT:     He reached in and checked her pulse

         5              and then shot her again.

             6                  THE COURT:     And then what happened?

         7                      MR. BURNETT:     I started to walk back towards the

         8              car and they put Michael Rork on his knees and then

         9              shot him.

        10                      THE COURT:     One time?

        11                      MR. BURNETT:     No, twice.

        12                      THE COURT:      He shot Michael York [sic] several

        13              times?

        14                      MR. BURNETT:     Chris -- Chris shot him twice.

        15                      THE COURT:     What?

        16                      MR. BURNETT:     Chris shot him twice.

        17                      THE COURT:     Okay.    So there's Mr. Rork and-- and

        18              Ms.   York laying on the ground and so what happened

        19              next?

        20                      MR. BURNETT:     I was already in the car.

        21                      THE COURT:     Did -- did they -- did you leave --

        22              did y'all leave Michael Rork's car there?

        23                      MR. BURNETT:     Yes, sir.

        24                      THE COURT:     You did.    And so everybody got in the

        25              car you were in and -- and left at that point?


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         1                    MR. BURNETT:     Yes, sir.

             2                THE COURT:     Did you -- did you take anything of

         3              Michael Rork's and Tiffany York's, like guns?

         4                    MR. BURNETT:     Not to my knowledge.     No.

         5                    THE COURT:     Didn't-- didn't do anything to hide

         6              the bodies?

         7                    MR. BURNETT:     No, sir.

         8                    THE COURT:     And just left the car there?

         9                    MR. BURNETT:     Yes, sir.

        10                    THE COURT:     And so where did you go when you left?

        11                    MR. BURNETT:     They wanted to go straight back to

        12              the house.    So that's what they decided to do.

        13                    THE COURT:     Straight back to the house on base?

        14                    MR. BURNETT:     Yes, sir.

        15                    THE COURT:     Is that what happened?

        16                    MR. BURNETT:     Yes, sir.

        17                    THE COURT:     What, and then you later went home?

        18                    MR. BURNETT:     Yes.

        19                    THE COURT:     How did you come to be arrested?

        20                    MR. BURNETT:    We got called to a morning formation

        21              on Saturday, December 10th.

        22                    THE COURT:     Say -- say that again.

        23                    MR. BURNETT:     We came to a -- they called us in

        24              for a morning formation on December 10th.

        25                    THE COURT:     Who -- who called you in?


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                              MR. BURNETT:       My sergeant did.

             2                THE COURT:       Okay.

             3                MR.   BURNETT:     And then that's when The Special

             4          Response Team on post came and arrested us.

             5                THE COURT:     Special Response Team, is that -- I'm

             6              I'm not-- I've never been in the military.           Is that

             7          the CID group?

             8                MR. BURNETT:      Yeah.     CID is responsible for those.

             9                THE COURT:       Criminal Investigation?

         10                   MR. BURNETT:       Yes, sir.

         11                   THE COURT:       Uh-huh.     And so did they arrest you?

         12                   MR. BURNETT:       Yes, sir.

         13                   THE COURT:     Okay.       And so how did you and-- come

         14             to be arrested by the State of Georgia authorities?

        15                    MR. BURNETT:      They transferred us into GBI custody

        16              at Liberty County Jail.

        17                    THE COURT:       To the Liberty County Jail?

        18                    MR. BURNETT:       Yes, sir.

        19                    THE COURT:       And now you -- where have you been

        20              housed, at the Liberty County Jail?

        21                    MR. BURNETT:      Liberty County.      I've just recently

         22             been moved.

        23                    THE COURT:        Yeah.      And where -- okay.      Whose

        24             .firearm was that that killed Ms. York and Mr. Rork?

        25                    MR. BURNETT:       Mine.


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                              THE COURT:     Your gun?

             2                MR. BURNETT:       Yes, sir.

         3                    THE COURT:     And you brought it along?

             4                MR.   BURNETT:      No.      I   kept   all   of   my   guns

         5              because I have a small child I kept all of my guns at

             6          Pedin's house.

             7                THE COURT:     Yeah.      Did you get your gun back after

         8              the shooting?

         9                    MR. BURNETT:       No.

        10                    THE COURT:     Where -- where is it?

        11                    MR. BURNETT:      At the bottom of the Sunbury Marina.

        12                    THE COURT:        At the bottom of what now?

        13                    MR. BURNETT:       Sunbury Marina.

        14                    THE COURT:       Okay.     Sunbury Marina is            is where

        15              the saltwater hits Liberty County and there's a marina

        16              there in the old town of Sunbury, Georgia.

        17                    MR. BURNETT:       Yes, sir.

        18                    THE COURT:       So who rode out there to the Sunbury

        19              Marina?

        20                    MR. BURNETT:      Pedin did.      He took the weapon --he

        21              took the murder weapon back to his house and chopped it

        22              up into a bunch of pieces he said.              I never saw it.

        23                    THE COURT:     Yeah.      And then were you with him when

        24              it

        25                    MR. BURNETT:       No.


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                                 '




             1                THE COURT:        -- rode out to Sunbury Marina and

             2          threw it?

             3                MR. BURNETT:       No, sir.

             4                THE COURT:      There's a restaurant there at Sunbury.

             5          Is it right by that spot or --

             6                MR. BURNETT:        I don't know where he threw it.

             7                THE COURT:      Okay.

             8                MR. BURNETT:       That's just what he told me.

             9                THE COURT:      All right.

         10                   MR. BURNETT:        Sir,    if I could have stopped this

         11             from happening I would have.

         12                   FEMALE VOICE:       You could have.

        13                    THE    COURT:       Ms.     Pauley,      have       you     got   any

         14             additional questions you want to ask him?

         15                   MS. PAULEY:       No, sir.     The defendant is going to,

         16             as part of the agreement, make himself available to the

         17             State.

         18                   THE COURT:        Speak a little louder.

         19                   MS. PAULEY:       Sir, not at this time in open court.

         20             The   defendant    is         has   agreed            a    part    of    the

         21             conditions    of   his    sentence       is   that    he    is    to    make

         22             himself available at anytime for further interviews by

        23              the State or any agency.

         24                   THE COURT:      Yeah.      Yeah.    I'm ready to talk about

        25              what the deal --


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                          MS. PAULEY:      Yes, sir.

         2                THE COURT:      -- deal is now.

         3                MS. PAULEY:      Yes, sir.       So not at this time unless

         4          Mr. Durden --

         5                MR. DURDEN:      I have --

         6                MS. PAULEY:      I don't think that this setting

         7                MR. DURDEN:      Well, I think Your Honor -- when you

         8          were questioning Michael here -- Mr. Burnett, there was

         9          some events that -- that happened after the shootings

        10          took place at the home of Mr. Pedin, off post; right?

        11                MR. BURNETT:       (Non-verbal response)

        12                MR. DURDEN:      With the burning of some clothes?

        13                MR. BURNETT:      Yes.

        14                MR. DURDEN:      Were you there?

        15                MR. BURNETT:      Yes.

        16                MR.   DURDEN:     Would     you mind    telling   the Court

        17          about that?

        18                THE COURT:      Yeah.    Okay.     I asked about the pistol

        19          and -- and now what else happened that you know about?

        20                MR. DURDEN:      Yeah.

        21                MR.   BURNETT:      Isaac    ordered    everybody   to   take

        22          their clothes off that were at the -- at the scene of

        23          the crime and the next night they burned them.

        24                THE COURT:       What,   they burned them in like a --

        25          just out in the yard?


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                            MR. BURNETT:      Yes, sir.

         2                  THE COURT:       Okay.       And you    just heard about

         3          that, you weren't there?

         4                  MR. BURNETT:     No.     I was there.

         5                  THE COURT:     You were there and participated in

         6          that?

         7                  MR. BURNETT:     No.

         8                  THE COURT:     You were just there?

         9                  MR. BURNETT:     I was just there.

        10                  THE COURT:     Yeah.     Mr. Durden?

        11                  MR. DURDEN:     No.    I   just wanted to make -- make

        12          sure -- clear for the record that that was off post at

        13          a residence in Liberty County

        14                  MR. BURNETT:     Yes, sir.

        15                  MR. DURDEN:     -- I mean Hinesville.

        16                  THE COURT:     That wasn't the same house?

       ·17                  MR. DURDEN:     No, sir.

        18                  MR. BURNETT:     No.     That was at --

        19                  MR. DURDEN:    Two separate houses.       One was on Fort

        20          Stewart.     One was off post

        21                  THE COURT:     Okay.

        22                  MR. DURDEN:    -- in Liberty County.       Am I correct?

        23                  MR. BURNETT:     Yes, sir.

        24                  MR. DURDEN:     All right.

        25                  THE COURT:     All right.     Well, Mr. Burnett,     I --


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                    all this is pretty -- pretty shocking to me but I feel

         2          that you have knowingly, intelligently and voluntarily

         3          pled guilty to -- and this is the plea bargain we're

         4         'talking about now -- Count One,                        malice murder being

         5          reduced to voluntarily [sic] manslaughter.                                That you

         6          pled    guilty       to voluntary manslaughter.                         Count Two,

         7          malice    murder,          that    would     be       reduced      to    voluntary

         8          manslaughter and that you have knowingly, intelligently

         9          and voluntarily pled guilty to that.                      Count Three would

        10          be nol prossed or dismissed.                    Count Four would be nol

        11          prossed    or     dismissed.               Count      Five,     which      is    the

        12          violation of The Street Gang Terrorism Act, that you

        13          pled    guilty       to    that.      Count Six,          violation of The

        14          Street Gang Terrorism and Prevention Act, that you pled

        15          guilty to that.             Count Seven, possession of a firearm

        16          during the commission of a                   felony,      you pled guilty.

        17          Count    Eight,           possession       of     a    firearm      during       the

        18          commission of a felony, that you've pled guilty.                             Count

        19          Nin    [sic]    --    Count        Nine,    violation         of    Street      Gang

        20          Terrorism and Prevention Act, you pled guilty and Count

        21          Ten, violation of Street Gang Terrorism and Prevention

        22          Act,    that    you       pled guilty.            Now -- and then Count

        23          Eleven and Twelve, the aggravated assaults would be nol

        24          prossed or dismissed.                Now in return for your guilty

        25          pleas I have a negotiated plea recommendation that's


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         1          been worked out by you and your attorney on one side

         2          and The state of Georgia on the other side and here's

         3          what the recommendation to me is and I don't have to

         4          take this recommendation.                   You understand that?

         5                  MR. BURNETT:          Yes, sir.

         6                  THE COURT:         All right.        Now the recommendation on

         7          the    reduced       charge    of     voluntary       manslaughter is             20

         8          years, split sentence:              Ten to serve, ten on probation.

         9          Count Two, voluntary manslaughter, twenty years:                                Ten

        10          to serve,       ten on probation.                 Count Five would be 15

        11          years    probation,         consecutive           to Count One          and Two.

        12          Count Six would be 15 years probation, consecutive to

        13          Count     Five.        Count       Seven     would    be       five     years     on

        14          probation,        consecutive         to    Count    One.        Count Eight:

        15          Five    years     on   probation,           consecutive         to    Count Two.

        16          Count Nine:        Fifteen years on probation, concurrent to

        17          Count Five and Count Ten, fifteen years on probation,

        18          concurrent        to   Count      Six.       Now,    Ms.       Mullis    and     Ms.

        19          Pauley,       have     I    got     that      right       as     to     what     the

        20          recommendation is?

        21                  MS.   PAULEY:          Yes,        sir.     And     with      the      total

        22          sentence then being-- since it's so many counts we did

        23          put the total sentence in bold underneath the minimum

        24          and maximum.

        25                  THE COURT:         Yeah.


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                          MS. PAULEY:       So the overall sentence would be 50

         2          years with ten years to serve in prison, followed by 40

         3          years on probation.

         4                THE COURT:       All right.      That's cool with me.

         5                MR. DURDEN:       And also

         6                THE COURT:       Go ahead.

         7                MR.    DURDEN:      If     I   may,   Your    Honor,     that    is

         8          conditional upon

         9                MS. MULLIS:       Yes, sir.

        10                MR.   DURDEN:            his    cooperation      in    --   as   we

        11          proceed against the other people involved in this crime

        12          -- these crimes and you know that -- that                    if he does

        13          not do that then this -- this agreement is conditional

        14          upon that.     We want the Court to know that.

        15                THE COURT:       Yeah.   Well I'm not -- the only way I

        16             we'll deal with that, Mr. Burnett, is I'm not going

        17          to sentence you at this time.

        18               MR. DURDEN:        Right.

        19               THE COURT:        I'm going to -- I'm going to --

        20               MR.    DURDEN:      Either deferral           (Inaudible),    Your

        21          Honor, if that's okay.

        22               THE COURT:        Yeah.     I'm going to defer sentencing

        23          until your agreement under this recommendation has been

        24          concluded satisfactorily to the district attorney's and

        25          the State of Georgia's decision.            Now-- and all-- and


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                     telling you also, I feel that you can -- the State can

         2           withdraw this recommendation before sentencing and at

         3           that point you could still be facing the death penalty

         4           or if you wish, you can withdraw your guilty plea until

         5           I sentence you.           Do you understand?

         6                   MR. BURNETT:        Yes, sir.

         7                   THE COURT:       Now if this goes through and you're on

         8           probation, I want to let you know that while you're on

         9           probation         you   have        you    would   have   no    Fourth

        10           Amendment right of privacy.               Your home; your car; your

        11           body could be searched at any time by -- if you got out

        12           on parole, by parole officers or probation officers or

        13           law enforcement officers without a search warrant.                   If

        14           you're not a US Citizen what we've done here today

        15           could be used to deport you out of the United States or
        16           effect your rights and if you don't think at-- at the

        17           end of the sentencing if you don't think what we've
       . 18          done is valid you've got four years from today's date

        19           to   file     a    habeas      corpus   petition   challenging      the

        20           validity of this or if you appeal this you'd have four
        21           years from the date of the denial of appeal to file a
        22           habeas      corpus      petition challenging       the validity of
        23           this.    Now, Mr. Burnett, I'm getting ready to conclude
        24           these proceedings.             The way I understand will happen
        25           now is you will stay in custody in a State of Georgia


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                    facility as such time the other matters came to trial

         2          and -- against the other -- other defendants in this

         3          matter and -- and it's my understanding those cases

         4          have     been   assigned   to   me   and   I   would   proceed    to

         5          schedule these matters to trial as                 as soon as I

         6          could.       Now is there any questions you have for Ms.

         7          Mullis or myself about anything that we've done here

         8          today?

         9                 MR. BURNETT:      No, sir.

        10                 THE COURT:       Anything else you wish to add,           Ms.

        11          Mullis?

        12                 MS. MULLIS:      No, Your Honor.

        13                 THE COURT:      Ms. Pauley or Mr. Durden, anything you

        14          wish to add?

        15                 MR.   DURDEN:     Nothing further from the DA, Your

        16          Honor.

        17                 THE COURT:      Anybody else have anything else to add

        18          to these matters?        Court is adjourned.

        19                              (PROCEEDINGS CONCLUDED)




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                       ( C E R T I F I C A T E         0 F   R E P 0 R T E R

         2           STATE OF GEORGIA

         3           COUNTY OF WAYNE

         4

         5                 I, DANNY C. SAYER, Certified Court Reporter, B-

         6           395 , .acting as such, hereby certify that the within and

         7           foregoing transcript of proceedings was taken down by

         8           me and then transcribed under my supervision, and that

         9           same is a true, correct and complete transcript of said

        10           proceedings .
        11

        12                 I FURTHER CERTIFY, that I am a disinterested party

        13           to this action and am in nowise interested in the event

        14           of the cause .

        15

        16                 IN WITNESS WHEREOF,     I   hereby    affix my hand and

        17           seal on September 17, 2012.

        18

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        22
        23           DCS / lt\lt




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